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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


MARCELLO CORTI,

       Plaintiff,                                          Case No.: 1:25-cv-03137

v.                                                         Judge Manish S. Shah

THE PARTNERSHIPS AND                                       Magistrate Judge Heather K. McShain
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                25                             Bodian Home Textile Factory
                32                                  Special Moments
                34                                     love aptitude
                39                                  Jenny crafts shop
                41                                    Business Field
                42                                Dream Art of Dreams
                43                                    Offer Discover
                44                                 Morning star shop L
                53                                      WH SHOP
                54                                    Mustwin Shop
                59                                        HLJP E
                66                                     Love diy abc
                74                                CHANGHONG SHOP
                79                                American style curtain
                84                               Home decor door curtain
                99                                        KikiIN
               113                                Sailor Mn Wall Decor
               125                                     CanvasMuse
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             129                             WonderfulALL
             130                               YALORA
             131                                BkFuture
             132                             Vivid Artworks
             134                             Canvas Heaven
             135                               TOHOMA
             137                                 Artify
             158                                  EMS
             159                                 KKOU
             161                               YYDesign


DATED: April 27, 2025                      Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           33 W. Jackson Blvd., #2W
                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 27, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
